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DOMINICK SAIA, Individually;
GAREN SAIAN, Individually;
MOSHE SAIDON, Individually;
SANDERS SAINNOVAL, Individually;
DANIEL SAITTA, Individually;
NISHAN SALADEEN, Individually;
SULTAN SALADEEN, Individually;
MAJIDA SALAMEH, Individually;
FRANK SALAMONE, Individually;
VINCENZO SALAMONE, Individually;
LAWRENCE SALAVEC, Individually;
GLENDA SALAZAR, Individually;
RAFAEL SALAZAR, Individually;
FELIPE SALCEDO, Individually;
SALEH SALEH, Individually;
JAMES SALEMO, Individually;
CARMINE SALERNO, Individually;
LEONARDO SALERNO, Individually;
SALVATORE SALERNO, Individually;
THOMAS SALERNO, Individually;
ALBANO SALGADO, Individually;
PHILIP SALMON, Individually;
GREGORY SALONE, Individually;
DANIEL SALSEDO, Individually;
JEFF SALTA, Individually;
JACK SALTARELLA, Individually;
ANTHONY SALTARELLI, Individually;
JERRY SALTZMAN, Individually;
JOHN SALVATO, Individually;
VITO SALVATORE, Individually;
DAVID SALVESEN, Individually;
ROBERT SALVIA, Individually;
SCOTT SALZBERG, Individually;
DANTE SAMA, Individually;
DEWANDRANATH SAMAROO, Individually;
JOHN SAMMARCO, Individually;
JAMES SAMMARCO, JR., Individually;
CHRISTINE SAMOLES, Individually;
GEORGE SAMOS, Individually;
LOUIS SAMPERI, Individually;
MORGAN SAMUEL, Individually;
CHRISTOPHER SANACORE, Individually;
FELIX SANCHEZ, Individually;
JOSE SANCHEZ, Individually;
MARISOL SANCHEZ, Individually;
RAFAEL SANCHEZ, Individually;



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RICHARD SANCHEZ, Individually;
STEVEN SANCHEZ, Individually;
VIRGILIO SANCHEZ, Individually;
EMIL SAND, Individually;
JAMES SANDAS, Individually;
DEBORAH SANDERS, Individually;
MICHAEL SANDHAAS, Individually;
ERIC SANDS, Individually;
ROBERT SANFILIPPO, Individually;
RUDY SANFILIPPO, Individually;
DARLENE SANFIORENZO, Individually;
PAUL SANFIORENZO, Individually;
RICHARD SANFORD, Individually;
FREDERICK SANICOLA, Individually;
JOHN SANJURJO, Individually;
PHILIP SANSONE, Individually;
WILLIAM SANTAGATA, Individually;
HANNIE SANTANA, Individually;
VERONICA SANTANA, Individually;
ANGEL SANTANA, Individually;
MICHAEL SANTANASTASO, Individually;
BIAGIO SANTANGELO, Individually;
CHRISTOPHER SANTANGELO, Individually;
ROBERT SANTANIELLO, Individually;
JOSEPH SANTAPAOLA, Individually;
JOSEPH SANTAPAOLA, Individually;
TAMMY SANTAPAU, Individually;
ALBERTO SANTIAGO, Individually;
ELMER SANTIAGO, Individually;
FERDINAND SANTIAGO, Individually;
FRANK SANTIAGO, Individually;
HECTOR SANTIAGO, Individually;
HECTOR SANTIAGO, Individually;
HENRY SANTIAGO, Individually;
JOSUE SANTIAGO, Individually;
JUAN SANTIAGO, Individually;
REYNALDO SANTIAGO, Individually;
ROBERTO SANTIAGO, Individually;
ADORACION SANTIAGO JR., Individually;
FRANCES SANTILLAN, Individually;
ROBERT SANTINO, Individually;
VINCENT SANTOIEMMA, Individually;
JOHN SANTONASTASO, Individually;
MICHAEL SANTORE, Individually;
MICHAEL SANTORE, Individually;
ANTHONY SANTORO, Individually;



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MICHAEL SANTORY, Individually;
CESAR SANTOS, Individually;
DAVID SANTOS, Individually;
DOUGLAS SANTOS, Individually;
RICARDO SANTOS, Individually;
RITA SANTOS, Individually;
MICHAEL SANZONE, Individually;
BILL SAPANO, Individually;
STEPHEN SAPIA, Individually;
JOSEPH SAPIENZA, Individually;
PETER SAPIENZA, Individually;
JAMES SARANDREA, Individually;
JOHN SARC, Individually;
HARVEY SARDIS, Individually;
JOSEPH SARDO, Individually;
WILLIAM SARRO, Individually;
ARTHUR SARTINI, Individually;
MOHAMMAD SATTAR, Individually;
PASQUALE SAULINO, Individually;
GREGORY SAUNDERS, Individually;
RICHARD SAUNDERS, Individually;
ROBERT SAUNDERS, Individually;
GENE SAUSTO, Individually;
WILLIAM H. SAVAGE JR., Individually;
JAMES SAVARESE, Individually;
LOUIS SAVARESE, Individually;
JOSEPH SAVERINO, Individually;
JOSEPH SAVERINO, Individually;
MICHAEL SAVITSKY, Individually;
RICHARD SAWCHUK, Individually;
MICHAEL SAXE, Individually;
MICHAEL SBRIGATO, Individually;
LOUIS SCALA, Individually;
MAURICE SCALES, Individually;
PETER SCALICI, Individually;
VICTOR SCALICI, Individually;
JOSEPH SCALOGNA, Individually;
THOMAS SCAMBONE, Individually;
ANTONIO SCANNELLA, Individually;
GILBERT SCARAZZINI, Individually;
BOBIE SCARBOROUGH, Individually;
JOHN SCARCELLA, Individually;
PETER SCARDACCIONE, Individually;
ARTHUR SCARLETT, Individually;
BENEDICT SCARSELLA, Individually;
CONRAD SCHABAUER, Individually;



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EDWARD SCHAEFER, Individually;
JAMES SCHAEFER, Individually;
JOSEPH SCHAFER, Individually;
KEVIN SCHAMBERGER, Individually;
ALEX SCHAPOWAL, Individually;
WILLIAM SCHARP, Individually;
THOMAS SCHATZLE, Individually;
LAWRENCE SCHAU, Individually;
MARK SCHEFLEN, Individually;
LAWRENCE SCHEID, Individually;
BEATRICE SCHEINBAUM, Individually;
THOMAS SCHEINER, Individually;
GERARD SCHELL, Individually;
JOHN SCHELL, Individually;
PETER SCHEMBRI, Individually;
DOUGHLAS SCHERMA, Individually;
YUNG SCHERN, Individually;
CHARLES SCHERY, Individually;
WILLIAM SCHEU, Individually;
JAMES SCHIAVONE, Individually;
JOSEPH SCHIAVONE, Individually;
ALFRED SCHILLE, Individually;
KEITH SCHILLER, Individually;
PATRICIA SCHILLER, Individually;
CHARLES SCHILLING, Individually;
DANNY SCHILLINGER, Individually;
JOHN SCHILLINGER, Individually;
WILLIAM SCHILLINGER, Individually;
NICHOLAS SCHIRALLI, Individually;
KEVIN SCHLITZ, Individually;
ROY SCHMAHL, Individually;
STEVEN SCHMALZRIED, Individually;
EDWARD SCHMIDT, Individually;
MARK SCHMIDT, Individually;
MATTHEW SCHMIDT, Individually;
ROBERT SCHMIDT, Individually;
RONALD SCHMIDT, Individually;
WILLIAM SCHMIDT, Individually;
FREDERICK SCHMITT, Individually;
KAREN SCHMITT, Individually;
PETER SCHMITT, Individually;
CLINTON SCHMITTERER, Individually;
WILLIAM SCHMITTGALL, Individually;
ROBERT SCHMUCK, Individually;
RONALD SCHMUTZLER, Individually;
JOHN SCHNAARS, Individually;



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LARRY SCHNECKENBURGER, Individually;
ERNEST SCHNEIDER, Individually;
GARY SCHNEIDER, Individually;
MICHAEL SCHNEIDER, Individually;
ROBERT SCHNEIDER, Individually;
STEPHEN SCHNEIDER, Individually;
DAVID SCHNITZER, Individually;
NEIL SCHOER, Individually;
EDGAR SCHOFFNER, Individually;
DANIEL SCHOFIELD, Individually;
RICHARD SCHOFIELD, Individually;
FRED SCHOLL, Individually;
CHRISTIAN SCHOLZ, Individually;
DOUGLAS SCHOOK, Individually;
JOHN SCHOOLER, Individually;
MICHAEL SCHOONMAKER, Individually;
MICHELE SCHOR SCANDOLE, Individually;
FRANK SCHRODER, Individually;
JOHN SCHROEDER, Individually;
THOMAS SCHROEDER, Individually;
PAUL SCHUBER, Individually;
STEPHEN SCHULDNER, Individually;
CHARLES SCHULE, Individually;
THOMAS SCHULE, Individually;
ROBERT SCHULTZ, Individually;
ROBERT SCHULZ, Individually;
ROBERT SCHUMAN, Individually;
BERNARD SCHUMER, Individually;
ALAN SCHWARTZ, Individually;
JEFFREY SCHWARTZ, Individually;
JEROME SCHWARTZ, Individually;
LAWRENCE SCHWARTZ, Individually;
STEPHEN SCHWARTZ, Individually;
STEVE SCHWARTZ, Individually;
SUSAN SCHWARTZ, Individually;
WILLIAM SCHWARZ, Individually;
FREDERICK SCHWARZROCK, Individually;
ANNMARIE SCHWEIGERT, Individually;
WILLIAM SCHWEIT, Individually;
KARL SCHWEITZER, Individually;
JAMES SCHWICKE, Individually;
ADAM SCHWINN, Individually;
PATRICIA SCIABARASSI, Individually;
FRANK SCIACCHITANO, Individually;
JOHN SCIANIMANICO, Individually;
JOHN SCIANIMANICO, Individually;



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VICTOR SCIARAPPA, Individually;
JOSEPH SCIBILIA, Individually;
PETER SCIPILLITI, Individually;
STEVEN SCIUTO, Individually;
ANTHONY SCLAFANI, Individually;
GREG SCLAFANI, Individually;
BARRY SCLAR, Individually;
THOMAS SCOGGAN, Individually;
JOHN SCOLARO, Individually;
PATRICK SCOLLAN, Individually;
GUY SCONZO, Individually;
LUIGI SCORCIA, Individually;
CHRISTOPHER SCOTT, Individually;
EDWARD SCOTT, Individually;
JOHN SCOTT, Individually;
MARTIN SCOTT, Individually;
MICHAEL SCOTT, Individually;
MICHAEL SCOTT, Individually;
MONICA SCOTT, Individually;
RICHARD SCOTT, Individually;
ROBERT SCOTT, Individually;
ROBERT SCOTT, Individually;
SARAH SCOTT, Individually;
FRANK SCOTTI, Individually;
JARRIT SCOTTI, Individually;
DOMINICK SCOTTO, Individually;
PAUL SCOTTO, Individually;
THOMAS SCOTTO, Individually;
THOMAS SCOTTO, Individually;
TIMOTHY SCOTTO, Individually;
TONI SCOTTO, Individually;
VINCENT SCOTTO, Individually;
JOHN SCOURAKIS, Individually;
DARRIN SCRUGGS, Individually;
DENNIS SCUDERA, Individually;
JOHN SCUPELLITI, Individually;
JAMES SEAMAN, Individually;
DORAN SEAQUISTE, Individually;
ANGEL SEARY, Individually;
LISA SECKLER-ROODE, Individually;
DANIEL SEDA, Individually;
DAVID SEDA, Individually;
EARTHA SEDENIUSSEN, Individually;
CHRISTOPHER SEEHASE, Individually;
JOSEPH SEENEY, Individually;
DONALD SEFCIK, Individually;



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JUAN SEGARRA, Individually;
LUIS SEGARRA, Individually;
MICHAEL SEGARRA, Individually;
VICTOR SEGARRA, Individually;
MOSES SEGURA, Individually;
ROBERT SELDOMRIDGE, Individually;
ROBERT SELDOMRIDGE, Individually;
SHARRON SELLICK, Individually;
GIOVANNI SEMINERIO, Individually;
KARY SEMINERIO, Individually;
ENGELBERT SEMKAM, Individually;
JOZETTE SEMPER, Individually;
FRANK SENA, Individually;
ALBERT SENECA, Individually;
JOHN SENESE, Individually;
JOHN M. SENESE, Individually;
JEANNETTE SENEY, Individually;
RUSSELL SENNETT, Individually;
MICHAEL SENNO, Individually;
PHILIP SENRA, Individually;
JEFFREY SENTOWSKI, Individually;
LAWRENCE SENZEL, Individually;
ADAMS SEPULVEDA, Individually;
RAYMOND SERBAY, Individually;
ANTHONY SERCIA, Individually;
ANTHONY SERCIA, Individually;
WILLIAM SERPE, Individually;
JEFFREY SERRA, Individually;
JOHN SERRA, Individually;
IVETTE SERRANO, Individually;
PEDRO SERRANO, Individually;
ROBERT SERRANO, Individually;
MICHAEL SERRAS, Individually;
ROBERT SESNY, Individually;
WILLIAM SESSELMAN JR., Individually;
ANTHONY SEVERINO, Individually;
JOHN SEWARD, Individually;
RODNEY SEYMOUR, Individually;
PATRICIA SEYMOUR-HARRISON, Individually;
PHILIP SFERRAZZA, Individually;
SALVATORE SFERRAZZA, Individually;
MICHAEL SFORZA, Individually;
NICHOLAS SGAGLIONE, Individually;
DAVID SGROMO, Individually;
ROBERT SHABAZZ, Individually;
KENNETH SHAFFER, Individually;



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KENNETH J. SHAFFER, Individually;
MICHAEL SHAFFER, Individually;
LENNY SHALMER, Individually;
FRANCIS SHANAGAN, Individually;
PETER SHANLEY, Individually;
BRIAN SHANNON, Individually;
CHARLES SHANNON, Individually;
JAMES SHANNON, Individually;
MATTHEW SHANNON, Individually;
PATRICK SHANNON, Individually;
EMILY SHAPIRO, Individually;
FRANCIS SHARKEY, Individually;
DAVID SHARP, Individually;
JOHN SHARP, Individually;
RICHARD SHARP, Individually;
JAMES SHARPERSON, Individually;
STEVEN SHAUGHNESSY, Individually;
JOHN SHAW, Individually;
KATHLEEN SHAW, Individually;
ZACHARIAH SHAW, Individually;
KIM SHEA, Individually;
MICHAEL SHEA, Individually;
MICHAEL SHEA, Individually;
THOMAS SHEA, Individually;
RODERICK SHEARBURN, Individually;
EZRI SHECHTER, Individually;
DAVID SHEEHAN, Individually;
EDWARD SHEEHAN, Individually;
JEFFREY SHEEHAN, Individually;
JOHN SHEEHAN, Individually;
KEVIN SHEEHAN, Individually;
MICHAEL SHEEHAN, Individually;
ROBERT SHEEHAN, Individually;
SCOTT SHEEHAN, Individually;
DENIS SHEEHY, Individually;
EDWARD SHEEHY, Individually;
BRENDAN SHEERIN, Individually;
CRAIG SHEIL, Individually;
ANNE SHELDON, Individually;
GLADYS SHELL, Individually;
CYNTHIA SHELTO, Individually;
ALBERT SHEPPARD, Individually;
LOUIS SHEPPARD JR., Individually;
EVA SHERARD, Individually;
RODNEY SHERARD, Individually;
ANDREW SHERIDAN, Individually;



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KEVIN SHERIDAN, Individually;
THOMAS SHERIDAN, Individually;
TIMOTHY SHERIDAN, Individually;
KEVIN SHEROD, Individually;
TERRENCE SHEROD, Individually;
LEV SHILDKRET, Individually;
KEVIN SHINNICK, Individually;
VERONICA SHIPPY, Individually;
NATALYA SHMIDT, Individually;
DANIEL SHORTELL, Individually;
THOMAS SHORTELL, Individually;
BRENDAN SHOVLIN, Individually;
GERALD SHOWERS, Individually;
MICHAEL SHRADER, Individually;
STEVEN SHTAB, Individually;
THOMAS SIANO, Individually;
GIUSEPPE SIBILLA, Individually;
AIDA SICARDO, Individually;
AIDA SICARDO, Individually;
BABARA SICILIA, Individually;
FRANK SICKLER, Individually;
NILDRE SIDBURY, Individually;
SUSAN SIDEL, Individually;
STANLEY SIEGEL, Individually;
LEONARD SIELI, Individually;
VANESSA SIERRA, Individually;
DOROTHY SIFF, Individually;
SCOTT SIGNORELLI, Individually;
JOHN SIGNORILE, Individually;
MARIA SIGNORILE, Individually;
MAURICE SIGNORILE, Individually;
NANCY SIGUENCIA, Individually;
BRUCE SILAS, Individually;
FRANK SILECCHIA, Individually;
NINA SILFEN, Individually;
WILLIAM SILKE, Individually;
MARK SILLARO, Individually;
ANTHONY SILVA, Individually;
FABIAN SILVA, Individually;
JOHN SILVA, Individually;
STEVEN SILVER, Individually;
JAN SILVERBERG, Individually;
KEITH SILVERMAN, Individually;
LYNNE SILVER-MERIWETHER, Individually;
IRA SILVERSTEIN, Individually;
LEON SILVERSTEIN, Individually;



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MAURICE SILVERSTEIN, Individually;
MICHAEL SILVESTRI, Individually;
WILLIAM SILVESTRI, Individually;
WILFREDO SILVESTRY, Individually;
CHARLES SILVIA, Individually;
STEPHEN SIMCO, Individually;
ANTHONY SIMEOLI, Individually;
BRENDA SIMMONS, Individually;
CHRISTOPHER SIMMONS, Individually;
LEON SIMMONS, Individually;
ADAM SIMMS, Individually;
DAVID SIMMS, Individually;
JOHN SIMONCINI, Individually;
PETER A. SIMONCINI, Individually;
AUGUSTINE SIMONCINI, SR., Individually;
EDWARD SIMONETTI, Individually;
GUY SIMONETTI, Individually;
GUY SIMONETTI, Individually;
MERISA SIMONS, Individually;
MICHAEL SIMONS, Individually;
RAYMOND SIMONS, Individually;
BOBBY SIMPKINS, Individually;
FRANCIS SIMPSON, Individually;
GERALD SIMPSON, Individually;
RICHARD SIMS, Individually;
CARL SINAGRA, Individually;
JOHN SINAYI III, Individually;
BRIAN SINCLAIR, Individually;
HUGH SINCLAIR, Individually;
DONALD SINCLAIR, JR., Individually;
SAMBA SINERA, Individually;
ALBERT SINGER, Individually;
HEIDI SINGER, Individually;
MYRON SINGER, Individually;
ROBERT SINGER, Individually;
ROBERT SINGER, Individually;
SCOTT SINGER, Individually;
CHANDRAPAUL SINGH, Individually;
KHAMRAJ SINGH, Individually;
RICHARD SINGH, Individually;
SUNIL SINGH, Individually;
KIMBERLY SINGLETON, Individually;
GIANCARLO SINI, Individually;
VINCENT SINNOTT, Individually;
JACK SIRACUSA, Individually;
VINCENT SIRICA, Individually;



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ANTONIO SIRVENT, Individually;
EDWARD SITA, Individually;
THOMAS SITACA, Individually;
EDWARD SIVIN, Individually;
JOHN SKEBECK, Individually;
RAYMOND SKERMO, Individually;
BRIAN SKIPPER, Individually;
ANTHONY SKOMINA, Individually;
JOSEPH SKONIECZNY, Individually;
LEO SKORUPSKI, Individually;
NEIL SKOW, Individually;
DORSEY SLAGLE, Individually;
SANDRA SLATER, Individually;
MARTIN SLATTERY, Individually;
RONALD SLAVIN, Individually;
KATHERINE SLAWINSKI, Individually;
MARC SLENDER, Individually;
ANNE SLEVIN, Individually;
DANIEL SLEZAK, Individually;
MICHAEL SLOFKISS, Individually;
ZINOVI SLOVESNIK, Individually;
WILLIAM SLOWSKI, Individually;
PETER SLUDER, Individually;
MARC SLUGH, Individually;
JAMES SMAGALA, Individually;
ANTHONY SMALDONE, Individually;
EMMA SMALL, Individually;
LESLIE SMALL, Individually;
ROBERTA SMALL, Individually;
JOHN SMALLS, Individually;
LINDA SMART, Individually;
AURA SMATKITBORIHARN, Individually;
PAUL SMICH, Individually;
GARY SMILEY, Individually;
CAROL SMITH, Individually;
CYRESS SMITH, Individually;
DENNIS SMITH, Individually;
DOUGLAS SMITH, Individually;
FREDERICK SMITH, Individually;
GARY SMITH, Individually;
GARY SMITH, Individually;
GARY SMITH, Individually;
GEORGE SMITH, Individually;
HERBERT SMITH, Individually;
IAN SMITH, Individually;
JAMES SMITH, Individually;



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JOHN SMITH, Individually;
KERRY SMITH, Individually;
LEONARD SMITH, Individually;
MARIA SMITH, Individually;
MYRA SMITH, Individually;
PATRICK SMITH, Individually;
PATRICK SMITH, Individually;
PAULA SMITH, Individually;
PETER SMITH, Individually;
RAYMOND SMITH, Individually;
RICHARD SMITH, Individually;
ROBERT D. SMITH, Individually;
SHERILL SMITH, Individually;
THOMAS SMITH, Individually;
WILLIAM SMITH, Individually;
WINSTON SMITH, Individually;
ALFRED SMITH, Individually;
ELIZABETH SMITH, Individually;
LAWRENCE SMITH, Individually;
HEIDI SMITH-ASH, Individually;
JOSEPH SMITHWICK, Individually;
DANIEL SMOLANICK, Individually;
STEVEN SMOLARSKY, Individually;
MATTHEW SMORTO, Individually;
GERALD SMYTH, Individually;
PATRICK SMYTH, Individually;
GERALD SNELL, Individually;
MALETA SNELL, Individually;
JOSEPH SNELL, Individually;
JAMES SNOOK, Individually;
GEORGE SNYDER, Individually;
RICHARD SNYDER, Individually;
GLENN SOANS, Individually;
MICHAEL SOBOLESKI, Individually;
STANISLAV SOFKA, Individually;
ROBERT SOHMER, Individually;
STEPHEN SOLDANO, Individually;
CHAD SOLER, Individually;
HECTOR SOLER, Individually;
CHAD SOLFARO, Individually;
GWYNNE SOLIMENE, Individually;
LUIS SOLIVAN, Individually;
MICHELE SOLIVAN, Individually;
CHARLES SOLLIN, Individually;
MELCHISEDEC SOLOMON, Individually;
JOHN SOLTES, Individually;



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ALFRED SOLURI, Individually;
ROBIN SOLVANG, Individually;
GERARD SOMERVILLE, Individually;
PAUL SOMIN, Individually;
FRANK SOMMA, Individually;
ROBERT SOMMER, Individually;
JAMES SOMMERS, Individually;
THOMAS SOMMO JR, Individually;
JAMES SONDA JR., Individually;
LINDA SORAK, Individually;
PAUL SORBER, Individually;
WALTER SORRENTI, Individually;
JOHN SORRENTINO, Individually;
MICHAEL SORRENTINO, Individually;
DAWN SORRENTO, Individually;
FRANCISCO SOSA, Individually;
FRANCISCO SOSA, Individually;
WALTER SOSNOWSKI, Individually;
ALEJANDRO SOTO, Individually;
ANIBAL SOTO, Individually;
MANUEL SOTO, Individually;
MARIA SOTO, Individually;
NOEMI SOTO, Individually;
PAUL SOTO, Individually;
RICHARD SOTO, Individually;
WILLIAM SOTO, Individually;
MARIANO SOTTILE, Individually;
CECIL SOUTHERN III, Individually;
DONALD SOWIN, Individually;
DAVID SOZIO, Individually;
JOSEPH SOZIO, Individually;
ENZO SOZZI, Individually;
ANTHONY SPADAFORA, Individually;
RONALD SPADAFORA, Individually;
DEAN SPADARO, Individually;
WILLIAM SPADE, Individually;
DENNIS SPAFFORD, Individually;
JOSEPH SPAGNOLA, Individually;
DOMINICK SPAGNOLO, Individually;
AMERICO SPAGNUOLA, Individually;
STEVEN SPAK, Individually;
WILLIAM SPALL, Individually;
CHRISTOPHER SPARACIA, Individually;
JACK SPARACINO, Individually;
THOMAS SPARACIO, Individually;
ROBERT SPARANDERA, Individually;



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GARY SPARAPANI, Individually;
JOHNNIE SPARKS, Individually;
PETER SPARTA, Individually;
STEPHEN SPEARS, Individually;
KENNETH SPECHT, Individually;
SAMUEL SPECTOR, Individually;
SEYMOUR SPECTOR, Individually;
DANIEL SPEIGEL, Individually;
CLARENCE SPELLMAN, Individually;
STEPHEN SPELMAN, Individually;
BRIAN SPENCER, Individually;
NATHAN SPENCER, Individually;
SYLVESTER SPENCER, Individually;
ANTHONY SPENNICCHIA, Individually;
ANTHONY SPERO, Individually;
TOMMIE SPERRAZZA, Individually;
JOHN SPIECH, Individually;
JOHN SPILLANE, Individually;
ARTHUR SPINA, Individually;
LEONARD SPINELLI, Individually;
MICHAEL SPINELLI, Individually;
STEPHEN SPINELLI, Individually;
DANIEL SPINO, Individually;
SALLY SPINOSA, Individually;
DANIEL SPITZBARTH, Individually;
KEVIN SPONBURG, Individually;
DARREN SPRINGS, Individually;
STEPHEN SPYNTIUK, Individually;
JOHN SQUICCIARINI, Individually;
ANTHONY SQUILLANTE, Individually;
ANTHONY SROUR, Individually;
SCOTT ST. JOHN, Individually;
STEVEN STABINER, Individually;
LOUIS STACEY, Individually;
JOSEPH STACH, JR., Individually;
JAMES STACK, Individually;
PATRICK STACK, Individually;
STEVEN STACK, Individually;
MICHAEL T. STACKPOLE, Individually;
CHRISTOPHER STADULIS, Individually;
JACK STAGNARI, Individually;
JOHN STAHL, Individually;
JOHN STAIANO, Individually;
EDWARD STALLINGS, Individually;
JEFFREY STANILAND, Individually;
JEFFREY STANILAND, Individually;



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MICHAEL STANISZEWSKI, Individually;
TIMOTHY STANLEY, Individually;
JOHN STANTON, Individually;
ROBERT STANTON, Individually;
GERARD STAPLES, Individually;
GREGORY STAR, Individually;
JOHN STARACE, Individually;
JOHN STARK, Individually;
ROBERT STARK, Individually;
NORMAN STARKS, Individually;
STAR STARR, Individually;
JAMES STASIO, Individually;
JAMES STASIO, Individually;
STEVEN STATHIS, Individually;
JOSEPH STAVOLA, Individually;
ROBERT STEC, Individually;
KEVIN STEELE, Individually;
VICTOR STEELE, Individually;
JAMES STEEN, Individually;
ANTHONY STEFANESE, Individually;
JOHN STEFANOWSKI, Individually;
DAVID STEIN, Individually;
MICHAEL STEIN, Individually;
MICHAEL STEINBERG, Individually;
MARK STEINHAUER, Individually;
DOMINICK STELLA, Individually;
ANDREA STEPHENS, Individually;
HENRY STEPHENSON, Individually;
LENNY STEPHENY, Individually;
STEPHEN STEPONAITIS, Individually;
JOSEPH STERBENZ, Individually;
DONYAL STERN, Individually;
DANIEL STEWART, Individually;
HERBERT STEWART, Individually;
JAMES STEWART, Individually;
JAMES STEWART, Individually;
KEVIN STEWART, Individually;
OLEVIA STEWART-SMITH, Individually;
RICHARD STEYERT, Individually;
JANNETH STIBRANY, Individually;
MICHAEL STIGLIANO, Individually;
JOSEPH STILE, Individually;
JOHN STILES, Individually;
BARRY STITH, Individually;
FRANCINE STOBNITZKY, Individually;
KARTIKA STOCKTON, Individually;



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RANDALL STOEVER, Individually;
MARK STONE, Individually;
MICHAEL STONE, Individually;
MICHAEL STONEBRIDGE, Individually;
DWAYNE STONEY, Individually;
CLAUDE M. STONIER, Individually;
ERIC STORCH, Individually;
HARRY STRACK, Individually;
ROBERT STRAFER, Individually;
PETER STRAHL, Individually;
GLYNE STRAKER, Individually;
ROBERT STRAKOSCH, Individually;
JOHN STRANDBERG, Individually;
LOUIS STRANDBERG, Individually;
LOUIS STRANDBERG, Individually;
CHARLES STRAVALLE, Individually;
JOSEPH STRENG, Individually;
BRIAN W. STRENGE, Individually;
KEVIN STRESS, Individually;
THOMAS STRINGER, Individually;
JEFFREY STROEHLEIN, Individually;
ANDREW STROMFELD, Individually;
LENNART STROMSTEDT, Individually;
RAY STRONG, Individually;
PETER STRUBBE, Individually;
JOHN STUBBING, Individually;
KEVIN STUCKEY, Individually;
JAMES STUHLMULLER, Individually;
BRIAN STURGES, Individually;
ARTHUR STURM, Individually;
JAMES STURMAN, Individually;
GLEN A. SUAREZ, Individually;
FRANCES SUAREZ-MARKOWSKI, Individually;
CHIRTA SUCHIT, Individually;
CHIRTA SUCHIT, Individually;
RICHARD SUFFERN, Individually;
DOUGLAS SUGERMAN, Individually;
GREGORY SUHR, Individually;
GILBERT SULLIVAN, Individually;
JAMES SULLIVAN, Individually;
JAMES SULLIVAN, Individually;
JIMMIE SULLIVAN, Individually;
JOHN SULLIVAN, Individually;
JOSEPH E. SULLIVAN, Individually;
MARGARET SULLIVAN, Individually;
MICHAEL SULLIVAN, Individually;



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MICHAEL SULLIVAN, Individually;
PHILIP SULLIVAN, Individually;
STEPHEN SULLIVAN, Individually;
STEPHEN E. SULLIVAN, Individually;
STEPHEN M. SULLIVAN, Individually;
TIMOTHY SULLIVAN, Individually;
JAMES P. SULLIVAN, Individually;
MONTGOMERY SUMMA, Individually;
STEVE SUMMO, Individually;
KENNETH SUMSKY, Individually;
RICHARD SUN, Individually;
ROBERT SUPINO, Individually;
KENNETH SUPPA, Individually;
PIO SUPPA, Individually;
PATRICK SURACI, Individually;
DANIEL SURAT, Individually;
DANIEL SURDUCAN, Individually;
BRUCE SURETTE, Individually;
MICHAEL SURIANELLO, Individually;
EDWIN SURILLO, Individually;
JAMES SURRUSCO, Individually;
MIGUEL SUSANA, Individually;
MATTHEW SUSCO, Individually;
DENNIS SUSLAK, Individually;
ROBERT SUTHERLAND, Individually;
ROBERT SUTHERLAND, Individually;
JOHN SUTTER, Individually;
FREDERICK SUTTON, Individually;
FREDERICK SUTTON, Individually;
JAMES SUTTON, Individually;
RONALD SVEC, Individually;
MICHAEL SWAIN, Individually;
MATTHEW SWAN, Individually;
RICHARD SWANSON, Individually;
JOHN SWEENEY, Individually;
VINCENT SWEENEY, Individually;
GLENN SWEENEY, Individually;
WILLIAM SWEENEY JR., Individually;
LISA SWEENY, Individually;
RANDY SWINTON, Individually;
WILLIAM SWITZER, Individually;
ARTHUR SYKEN, Individually;
JOSEPH SYKES, Individually;
BOGUSLAW SZALUS, Individually;
JOHN SZCZECH, Individually;
THOMAS SZOTAK, Individually;



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RALPH SZPAK, Individually;
IGOR SZYNAROWSKI, Individually;
DENNIS TAAFFE, Individually;
JOSEPH TABEEK, Individually;
ANTHONY TACCARIELLO, Individually;
JACK TADDEO, Individually;
ANA TAHA, Individually;
ROY TALIAFERRO, Individually;
MICHAEL TALIENTO, Individually;
JOHN TALMADGE, Individually;
OLGA TAMBURRI, Individually;
RICHARD TANAGRETTA, Individually;
ANTHONY TANNAZZO, Individually;
TIN TAO, Individually;
JAMES TAONO, Individually;
CIRO TAORMINA, Individually;
JONATHAN TAORMINA, Individually;
RANDY TAPIA, Individually;
ANTONIO TARABOCCHIA, Individually;
ROBERT TARANTINO, Individually;
THOMAS TARANTOLA, Individually;
DENNIS TARDIO, Individually;
FRANK TARDY, Individually;
DANIEL TARPEY, Individually;
JAMES TARRY, Individually;
PETER TARTAGLIONE, Individually;
JOHN TARTAMELLA, Individually;
RAYMON TASHJI, Individually;
CHARLES TATAR, Individually;
THOMAS TATARIAN, Individually;
HUGH TATE, Individually;
LIZA TATE, Individually;
LIZA TATE, Individually;
NANCY TATE, Individually;
GLORIA TATUM, Individually;
RICHARD TAUBER, Individually;
ANTONIO TAURINO, Individually;
RICARDO TAVARES, Individually;
DAVID TAVERNIER, Individually;
KAMELIA TAWDROS, Individually;
WILLIAM TAYE, Individually;
CRAIG TAYLOR, Individually;
GREGORY TAYLOR, Individually;
JULIA TAYLOR, Individually;
KEITH TAYLOR, Individually;
KEVIN TAYLOR, Individually;



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STEVE TAYLOR, Individually;
VICTOR TCHIJ, Individually;
EVAN TEATUM, Individually;
VINCENT TEDESCHI, Individually;
MIKE TEGANO, Individually;
JOHN TEGELER, Individually;
CARLOS TEJEDA, Individually;
NICHOLAS TELINCHO, Individually;
TELLEF TELLEFSEN, Individually;
DANIEL TENEYCK, Individually;
JULIA TENEZACA, Individually;
RICHARD TEPEDINO, Individually;
DAVID TERAN, Individually;
CHARLES TEREFENKO, Individually;
ANGELA TERMINE, Individually;
STEPHEN TERNLUND, Individually;
JOHN TERRAVECCHIA, Individually;
LOUIS TERRUSA, Individually;
PHILIP TERRY-SMITH, Individually;
YVETTE TERUEL, Individually;
PASQUALE TESI, Individually;
MICHAEL TESORIERO, Individually;
ANTHONY TESTA, Individually;
ROCCO TESTA, Individually;
LOUIS TESTANI, Individually;
ARISTEDES THANASOULIS, Individually;
CLAUDE THEODORE, Individually;
TANYA THEOPHILA, Individually;
BRIAN THEOPHILUS, Individually;
GARY THERIAULT, Individually;
STEPHEN THIBADEAU, Individually;
ROBERT THIEL, Individually;
FRANCIS THOMAS, Individually;
HAROLD THOMAS, Individually;
JAMES THOMAS, Individually;
JOSEPH THOMAS, Individually;
LUIS THOMAS, Individually;
MARVIN THOMAS, Individually;
SAJI THOMAS, Individually;
VICTORIA THOMAS, Individually;
WAYNE THOMAS, Individually;
DANIELLE M. THOMAS, Individually;
ROBERT THOMEY, Individually;
CHARLES E. THOMPSON, Individually;
DONALD THOMPSON, Individually;
DONALD THOMPSON, Individually;



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DONALD K. THOMPSON, Individually;
JAMES THOMPSON, Individually;
JOSEPH THOMPSON, Individually;
KATIE THOMPSON, Individually;
RENE THOMPSON, Individually;
ROBERT THOMPSON, Individually;
THOYWELL THOMPSON, Individually;
ZINA THOMPSON-MILAN, Individually;
ROSELYN THOMPSON-PEARSON, Individually;
DANIEL THOMSON, Individually;
ROBERT THOMSON, Individually;
SCOTT THOMSON, Individually;
DONNA THORNHILL-ALSTON, Individually;
MICHELE THORNHILL-FREEMAN, Individually;
DONELL THORNTON, Individually;
ROBERT THORNTON, Individually;
ALEX THROWER, Individually;
CAROLYN THURLTON, Individually;
EDDIE TIBBATTS, Individually;
JAMES TIERNEY, Individually;
KEVIN TIERNEY, Individually;
EDWARD TIERNEY, Individually;
ROBERT TILEARCIO, Individually;
HARVEY TILLERY, Individually;
TYRONE TILLMAN, Individually;
CARMEN TIMMONS, Individually;
VINCENT TIMMONS, Individually;
JOHN TIMOTHY, Individually;
FRANKIE TIRADO, Individually;
JOSE TIRADO, Individually;
RICHARD TIRELLI, Individually;
JOHN TITO, Individually;
DENNIS TOAL, Individually;
ROBERT TOBIAS, Individually;
MICHAEL TOBIN, Individually;
JOSEPH TOBIN, Individually;
RAYMOND TOCK, Individually;
JEWEL TODMAN-PHILIP, Individually;
WILLIAM TOELSTEDT, Individually;
FRANK TOFANO, Individually;
LEONID TOKAR, Individually;
TIMOTHY TOLAN, Individually;
TIMOTHY TOLAN, Individually;
LEROY TOLIVER, Individually;
JAMES TOLSON, Individually;
ANTHONY TOMESHESKI, Individually;



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DONALD TOMM, Individually;
GERARD GEORGE TOMOSOIU, Individually;
RICHARD TOMPKINS, Individually;
CHRIS TOMPKINSON, Individually;
KEVIN TONKIN, Individually;
MARLENE TONNON, Individually;
JUAN TORANZO, Individually;
JORMA TORCHIO, Individually;
ANDREW TORLINCASI, Individually;
MARK TORRE, Individually;
JOSE TORRELLAS, Individually;
MARGARET TORRELLAS, Individually;
ANGEL TORRES, Individually;
ANNA TORRES, Individually;
CARLOS TORRES, Individually;
CARLOS TORRES, Individually;
DAMASO TORRES, Individually;
EDGAR TORRES, Individually;
EDWIN TORRES, Individually;
EMMANUAL TORRES, Individually;
ERIC TORRES, Individually;
HECTOR TORRES, Individually;
HECTOR L. TORRES, Individually;
HENRY TORRES, Individually;
JOSE TORRES, Individually;
JUDY TORRES, Individually;
LUIS TORRES, Individually;
MIGUEL TORRES, Individually;
PABLO TORRES, Individually;
PORFIRIO TORRES, Individually;
ROBERT TORRES, Individually;
ROBERTO TORRES, Individually;
ROSALINA TORRES, Individually;
TERENCE TORRES, Individually;
JOSEPH TORTORELLA, Individually;
ANDERSON TORY, Individually;
JOSEPH TOSCANO, Individually;
ROBERT TOSCANO, Individually;
PETER E. TOSTAINE, Individually;
ANTHONY TOULON, Individually;
ANTHONY TOULON, Individually;
MARCEL TOUMA, Individually;
ANN TOWPASH, Individually;
ANDREW TRABANCO, Individually;
BERNARD TRACEY, Individually;
BERNARD TRACEY, Individually;



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PATRICK TRACY, Individually;
ADAM TRAINA, Individually;
VITO TRAINA, Individually;
DIANN TRAMEL, Individually;
JOEL TRAMEL, Individually;
WILLIAM D. TRAMMELL, Individually;
LE TRAN, Individually;
ANDREW TRANCHINA, Individually;
JOSEPH TRANCUCCI, Individually;
THOMAS TRANFAGLIA, Individually;
JAMES TRAPANESE, Individually;
RICHARD TRAPANESE, Individually;
FRANCIS TRAPANI, Individually;
PETER TRAUT, Individually;
JOHN TRAVAGLIA, Individually;
JOSEPH TRAVAGLIA, Individually;
JOHN TRAVERS, Individually;
MICHAEL TREANOR, Individually;
LOUIS TREGLIA, Individually;
ROBERT TREGLIA, Individually;
EDWARD TRENTACOSTA, Individually;
JOSEPH TREZZA, Individually;
MICHAEL TREZZA, Individually;
MICHAEL TREZZA, Individually;
FERNANDO TRIANA, Individually;
MICHAEL TRIANO, Individually;
ANTHONY TRIANT, Individually;
ANTHONY TRICARICO, Individually;
VINCENT TRIMARCO, Individually;
EDICTOR TRINIDAD, Individually;
EGGAR TRINIDAD, Individually;
ROBERT TRINIDAD, Individually;
ANTHONY TRIOLA, Individually;
PATRICK TRIOLA, Individually;
JOHN TRIPLETT, Individually;
PETER TRIPP, Individually;
LORRAINE TRIVONE, Individually;
FRANK TROCCHIA, Individually;
ISMET TROCHE, Individually;
STEVEN TROGELE, Individually;
CARL TROIANO, Individually;
NELLIE TROIANO, Individually;
WILLIAM TROLAN, Individually;
BRIAN TRONTZ, Individually;
STEVEN TROSTEN, Individually;
LONNIE TROTTA, Individually;



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FRANK TROVESE, Individually;
SHIVONNE TROY, Individually;
JOHN TRUBIA, Individually;
DEBORAH TRUEMAN, Individually;
BRIAN TRUMMER, Individually;
MICHAEL TRZASKA, Individually;
FELICIA TSANG, Individually;
WING TSANG, Individually;
CINDY TSUI, Individually;
SAM TSVAYG, Individually;
SOPHIA TSVAYG, Individually;
PETER TUCCIARELLI, Individually;
BOBBY TUCKER, Individually;
WAYNE TUCKER, Individually;
ELAINE TUCKER, Individually;
PATRICK TUITE, Individually;
EDWARD TULLY, Individually;
RICHARD TULLY, Individually;
DIANNA TUMMINIA, Individually;
THOMAS TUMMINIA, Individually;
MICHAEL TURCHIANO, Individually;
DOMINICK TURITTO, Individually;
JOHN TURKUS, Individually;
CHRISTOPHER TURNER, Individually;
EDWARD TURNER, Individually;
JOHN TURNER, Individually;
THOMAS TURNER, Individually;
JOSEPH TURSI, Individually;
RICHARD TURSI, Individually;
JOSEF TURSKI, Individually;
JOSEPH TUSA, Individually;
JOSEPH TUSTIN, Individually;
ANDREA TUZZO, Individually;
KEVIN TWOHIG, Individually;
GARY TYBURCZY, Individually;
REV. FR. STEPHEN J. TYMINSKI, Individually;
GEORGE TYNDALL, Individually;
JOHN TYRRELL, Individually;
CYRIL TYSON, Individually;
JOHN TYSON, Individually;
THOMAS UBERTINI, Individually;
HARRY UDIT, Individually;
DONALD UEBEL, Individually;
SAMIE ULLAH, Individually;
MICHAEL ULLO, Individually;
ROY ULLOA, Individually;



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FRANK UNGARO, JR., Individually;
DONALD URBANO, Individually;
THOMAS URBANSKI, Individually;
WALTER URBONAS, Individually;
JOHN URCINOLI, Individually;
JENNIFER URENA, Individually;
ROBERT URGO, Individually;
MICHAEL URKONIS, Individually;
JOHN URSO, Individually;
WILLIAM USTICK, Individually;
ROBERT UTSEY, Individually;
FRANK VACCARO, Individually;
LOUIS VACCARO, Individually;
VINCENT VACCARO, Individually;
JOSEPH VAFEADES, Individually;
LAWRENCE VAIL, Individually;
PAUL VALDES, Individually;
HECTOR VALDIVIEZO, Individually;
CHARLES VALENTI, Individually;
FRANK VALENTI, Individually;
JOHN VALENTI, Individually;
JOHN VALENTI, Individually;
MARIO VALENTI, Individually;
DENISE VALENTIN, Individually;
MARC VALENTIN, Individually;
MICHAEL A. VALENTIN, Individually;
WILLIAM VALENTIN, Individually;
WILLIAM VALENTIN, Individually;
HILDA VALENTINE, Individually;
KATHERINE VALENTINE, Individually;
JAMES VALENTINO, Individually;
JOHN VALENZA, Individually;
MICHAEL VALENZANO, Individually;
PAUL VALERGA, Individually;
PAUL VALERGA, Individually;
VINCENT VALERIO, Individually;
ANTHONY VALITUTTO, Individually;
CHARLES VALLARO, Individually;
ERNEST VALLEBUONO, Individually;
ANTHONY VALLETTA, Individually;
ANTHONY VALLONE, Individually;
GINGER VAN CANEGHAN, Individually;
HENRY VAN HEEMSTEDE-OBELT, Individually;
RANDY VAN NAME, Individually;
THOMAS VAN ROSSEM, Individually;
CHRISTOPHER VAN WEDDINGER, Individually;



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TIMOTHY VANDERBERG, Individually;
DONALD VANECK, Individually;
RICHARD VANHOUTEN, Individually;
HILDA VANNATA, Individually;
GARY VANPELT, Individually;
HARRY VANUTRECHT, Individually;
JOHN VANWAGONER, Individually;
WILSON VARELA, Individually;
ROBERT VARESE, Individually;
ANDREW VARGA, Individually;
ERIK VARGAS, Individually;
LUIS CARLOS VARGAS-BOTELLO, Individually;
THOMAS VARIO, Individually;
DAVID VARNEY, Individually;
STEPHEN VASCONCELLOS, Individually;
MARIO VASCONI, Individually;
LANA VASHOVSKY, Individually;
DANIEL VASQUEZ, Individually;
FELIX VASQUEZ, Individually;
JESUS VASQUEZ, Individually;
JOSE VASQUEZ, Individually;
JUAN VASQUEZ, Individually;
DONALD VASTOLA, Individually;
ANGEL VAZQUEZ, Individually;
CHAD VAZQUEZ, Individually;
ERIC VAZQUEZ, Individually;
FELIX VAZQUEZ, Individually;
GILBERTO VAZQUEZ, Individually;
NANCY VAZQUEZ, Individually;
PERRY VAZQUEZ, Individually;
THOMAS VEALE, Individually;
CARL S. VECCHIO, JR., Individually;
DORIS VEGA, Individually;
EFRAIN VEGA, Individually;
FRANCISCO VEGA, Individually;
HECTOR VEGA, Individually;
JANICE VEGA, Individually;
KIM VEGA, Individually;
EDWIN VELASQUEZ, Individually;
DANIEL VELAZQUEZ, Individually;
RUFINO VELAZQUEZ, Individually;
SCOTT VELAZQUEZ, Individually;
TANIA VELAZQUEZ, Individually;
ANTONIO VELEZ, Individually;
DAVID VELEZ, Individually;
HERIBERTO VELEZ, Individually;



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IVAN VELEZ, Individually;
JORGE VELEZ, Individually;
MILDRED VELEZ, Individually;
ROSENDO VELEZ, Individually;
WILLIAM VELEZ, Individually;
RAFAEL VELEZ III, Individually;
STEPHEN VELLA, Individually;
ANTHONY VENEZIA, Individually;
LAWRENCE VENTO, Individually;
RAYMOND VENTO, Individually;
SUZANNE VENTO, Individually;
PAUL VENTRE, Individually;
FRANK VENTRELLA, Individually;
THOMAS VENTRIGLIO, Individually;
THOMAS VENTRIGLIO, Individually;
JOSEPH VENTURINO, Individually;
ANGEL VERA, Individually;
JOHN VERACKA, Individually;
PAUL VERELINE, Individually;
TERRENCE VERETTE, Individually;
MARY VERGONA, Individually;
MICHAEL VERNI, Individually;
MICHAEL VESPA, Individually;
TODD VETTER, Individually;
BRAULIO VICENTE, Individually;
ERNESTINE VICENTE-CRUZ, Individually;
MONICA VICKERS, Individually;
DAVID VIGADA, Individually;
JOSEPH VIGLIETTA, Individually;
KURT VIKKI, Individually;
ROLAND VILCHES, Individually;
JOHN VILLA, Individually;
ROY VILLAFANE, Individually;
DENISE VILLAMIA, Individually;
RHONDA VILLAMIA, Individually;
CRISTINE VILLANO, Individually;
MARK VILLARI, Individually;
PAUL VINAS, Individually;
GEORGE VINCENT, Individually;
MICHAEL VINCENT, Individually;
BRENDA VINCENT-SPRINGER, Individually;
PHILIP VINCENZO, Individually;
WALTER VINES, Individually;
LOUIS VINGELLI, Individually;
ALBERT VIRA JR., Individually;
MICHAEL VIRGADAMO, Individually;



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JACK VIRZI, Individually;
ROBERT VISCIONE, Individually;
GREGORY VISCO, Individually;
JOHN VISCONTI, Individually;
PATRICK VISSICHELLI, Individually;
MICHAEL VITALE, Individually;
RICHARD VITALE, Individually;
DENNIS VITELLI, Individually;
FRANCINE VITIELLO, Individually;
FRANK VITIELLO, Individually;
MARCO VITOLO, Individually;
ELI VITRANO, Individually;
JAMES VITUCCI, Individually;
JESSE VITUCCI, Individually;
JOSE VIVAR, Individually;
ROQUE VIVAR, Individually;
ROY VIVAR, Individually;
CORIOLANO VIZCAINO, Individually;
KEITH VLACH, Individually;
JEFFREY VLACK, Individually;
DZEVAT VLASHI, Individually;
ALLISON VOGT, Individually;
KENNETH VOGT, Individually;
MATTHEW VOGT, Individually;
PATRICK VOGT, Individually;
ROBERT VOLASKI, Individually;
PAUL VOLCKENING, Individually;
DENNIS VOLKES, Individually;
CHARLES VOLPE, Individually;
DANIEL VOLPE, Individually;
MARK VOLPE, Individually;
MARK VOLPE, Individually;
MICHAEL VOLPE, Individually;
RICHARD VOLPE, Individually;
MATTHEW VOLTAGGIO, Individually;
MATTHEW VOLTAGGIO, Individually;
KEVIN VOSBRINK, Individually;
LEV VOSKOBOYNIK, Individually;
JASON VOSS, Individually;
JOHN VOTTA, Individually;
TOMOR VRLAKU, Individually;
STEVEN VUKEK, Individually;
MARTIN VULPIS, Individually;
ZBIGNIEW WADOLOWSKI, Individually;
ROBERT WAGEMANN, Individually;
WILLIAM WAGER, Individually;



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JAMES WAGNER, Individually;
KENNETH WAGNER, Individually;
WILLIAM WAGNER, Individually;
HENRY WAITE, Individually;
JOHN WALCOTT, Individually;
STEVEN WALCZYK, Individually;
ARTHUR WALDHELM, Individually;
JOZEF WALEK, Individually;
KAZIMIERZ WALEK, Individually;
DAWN WALKER, Individually;
WILLIAM WALKER, Individually;
HOLT WALKER, III, Individually;
LENISE WALKER-WILSON, Individually;
BRIAN WALL, Individually;
DANIEL WALL, Individually;
KEVIN WALLA, Individually;
COURTNEY WALLACE, Individually;
KENNETH WALLACE, Individually;
RALSTON WALLACE, Individually;
RALSTON WALLACE, Individually;
ROBERT WALLEN, Individually;
DANIEL WALSH, Individually;
EUGENE WALSH, Individually;
JOHN WALSH, Individually;
JOSEPH WALSH, Individually;
JOSEPH F WALSH, Individually;
KERRY WALSH, Individually;
KEVIN WALSH, Individually;
MARK WALSH, Individually;
MARK WALSH, Individually;
NEIL WALSH, Individually;
PAUL WALSH, Individually;
RICHARD WALSH, Individually;
RICHARD WALSH, Individually;
ROBERT WALSH, Individually;
WILLIAM WALSH, Individually;
WILLIAM WALSH, Individually;
EDMUND WALSH, JR., Individually;
JAMES WALSH, JR., Individually;
GEORGE WALTER, Individually;
JAMES WALTER, Individually;
ANDREW WALTERS, Individually;
DEVON WALTERS, Individually;
GARY WALTERS, Individually;
JEROME WALTERS, Individually;
TASHER WALTERS, Individually;



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TIMOTHY J. WALTERS, Individually;
SHEILAH WALTHALL, Individually;
JAMES WALTHER, Individually;
GARY WALTON, Individually;
ROBERT WALTON, Individually;
PAUL WANAMAKER, Individually;
JAMES WARD, Individually;
JAMES WARD, Individually;
ROBERT WARD, Individually;
KEVIN WARD, Individually;
LINDA WARD, Individually;
THOMAS M. WARD JR., Individually;
PAULETTE WARFIELD, Individually;
ARTHUR WARICK, Individually;
PAGET WARNER, Individually;
GREGORY WARNOCK, Individually;
JOHN WARREN, Individually;
THOMAS WARREN, Individually;
RODNEY WARRICK, Individually;
JAMES WARSHEFSKIE, Individually;
DAMON WASHINGTON, Individually;
IRENE WASHINGTON, Individually;
THOMAS WASHINGTON, Individually;
CHRISTINA            WASHINGTON-ROBINSON,
Individually;
DAVID WASSERMAN, Individually;
PETER WASSERMAN, Individually;
PETER WASSERMAN, Individually;
FRANK WATERS, Individually;
JOSEPH WATERS, Individually;
PATRICK WATERS, Individually;
TONY WATKINS, Individually;
DERRICK WATSON, Individually;
DANIEL WATTLEY, Individually;
REGINA WATTS, Individually;
SELVIN WATTS, Individually;
JOHN WAUGH, Individually;
STEPHEN WAVREK, Individually;
SANDRA WEATHERS, Individually;
SANDRA WEATHERS, Individually;
DAVID WEAVER, Individually;
MICHAEL WEAVER, Individually;
JOSEPH WEBBER, Individually;
EDWIN WEBER, Individually;
MARK WEBER, Individually;
THOMAS WEBER, Individually;



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THOMAS WEBSTER, Individually;
RICHARD WECERA, Individually;
DAVID WECHSLER, Individually;
HARRY WEDIN, Individually;
WARREN WEEKES, Individually;
MALCOLM WEEKES, Individually;
MICHAEL WEGUELIN, Individually;
MICHAEL WEGUELIN, Individually;
MARTIN WEIAND, Individually;
PAUL WEIGELE, Individually;
JOSEPH WEIHS, Individually;
PAUL WEIN, Individually;
RUDOLF WEINDLER, Individually;
REBECCA WEINER, Individually;
ROBERT WEINERT, Individually;
WILLIAM WEINERT, Individually;
RICHARD WEINTRAUB, Individually;
ROBERT WEINZIERL, Individually;
ALBERT WEIR, Individually;
SEAMUS P. WEIR, Individually;
PAUL WEIS, Individually;
ROBERT WEISBERG, Individually;
JAMES WEISENBURGER, Individually;
HARRY WEISER, Individually;
DAVID WEISS, Individually;
RUTH WEISS, Individually;
STACY WEISS, Individually;
JAN WEISSBERG, Individually;
AMY WEISSBROD-GURVEY, Individually;
PATRICK WELCH, Individually;
KERRI WELCH, Individually;
HECTOR WELCOME, Individually;
JAMES WELDON, Individually;
RICHARD WELDON, Individually;
RICHARD WELDON, Individually;
DOUGLAS WELLINGTON, Individually;
RICHARD WELLIVER, Individually;
WESLEY WELLS, Individually;
WESLEY WELLS, Individually;
WILLIAM WELSH, Individually;
JOSEPH WENDLER, Individually;
GEORGE WENDT, Individually;
JOHN WENIG, Individually;
PETER WENNING, Individually;
GERARD WEPPLER, Individually;
ROBERT WERNEKEN, Individually;



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